                                      In The

                                Court of Appeals

                      Ninth District of Texas at Beaumont

                               __________________

                               NO. 09-24-00041-CV
                               __________________

  TERRY HOYT, DOWELL ARMORY, LLC, AND JAMES MICHAEL
DOWELL, AS INDEPENDENT EXECUTOR OF THE ESTATE OF KEVEN
                   DOWELL, Appellants

                                         V.

                SHOOTER’S STATION ARMS, INC., Appellee

__________________________________________________________________

                On Appeal from the 457th District Court
                     Montgomery County, Texas
                   Trial Cause No. 20-03-03005-CV
__________________________________________________________________

                          MEMORANDUM OPINION

      Terry Hoyt, Dowell Armory, LLC, and James Michael Dowell, as

Independent Executor of The Estate of Keven Dowell, Appellants, filed unopposed

motions to dismiss this appeal. See Tex. R. App. P. 42.1(a)(1). They filed the motion

before the appellate court issued a decision in the appeal. We grant the motion and

dismiss the appeal.



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      APPEAL DISMISSED.



                                                PER CURIAM

Submitted on August 7, 2024
Opinion Delivered August 8, 2024

Before Golemon, C.J., Johnson and Wright, JJ.




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